       Case 1:16-cv-00878-JB-JHR Document 82 Filed 08/01/18 Page 1 of 9



                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO


                                                                 )
NEW MEXICO HEALTH CONNECTIONS,                                   )
a New Mexico Non-Profit Corporation,                             )
                                                                 )
                                                                 )         No. 1:16-cv-00878-JB/JHR
                                             Plaintiff,          )
                                                                 )
                              v.                                 )
                                                                 )
UNITED STATES DEPARTMENT OF                                      )
HEALTH AND HUMAN SERVICES, et al.,                               )
                                                                 )
                                          Defendants.            )
                                                                 )
                                                                 )

 NEW MEXICO HEALTH CONNECTIONS’ OPPOSITION TO AMERICA’S HEALTH
 INSURANCE PLANS AND BLUE CROSS BLUE SHIELD ASSOCIATION’S MOTION
           FOR LEAVE TO FILE STATEMENT AS AMICI CURIAE

                  Plaintiff New Mexico Health Connections (“NMHC”), by and through its

undersigned counsel, hereby submits the following memorandum of law in opposition to

America’s Health Insurance Plans (“AHIP”) and Blue Cross Blue Shield Association’s

(“BCBSA”) (collectively, the “BCBS Association”) Motion for Leave to File Statement as Amici

Curiae (“Motion”).

I.     INTRODUCTION

                  The BCBS Association’s proposed amicus statement, in addition to being both

untimely and improper, has also been rendered entirely irrelevant by events post-dating the

filing. The BCBS Association originally sought leave to file its purported amicus statement

because it was unhappy with HHS’s 1 July 7, 2018 decision to suspend 2017 risk adjustment

       1
           In keeping with the parties’ past practice, all Defendants are collectively referred to as “HHS.”
        Case 1:16-cv-00878-JB-JHR Document 82 Filed 08/01/18 Page 2 of 9



transfers (the “Risk Adjustment Suspension”) in light of this Court’s February 28, 2018 ruling.

According to the motion for leave to file the proposed amicus “statement,” the BCBS

Association sought to provide the Court with their “informed perspective” on the dire

consequences of the Risk Adjustment Suspension. See ECF No. 80, at 2. In the week following

the BCBS Association’s filing, however, HHS reversed course on the Risk Adjustment

Suspension, issuing a new Rule to govern the risk adjustment program for benefit year 2017 and

notifying issuers that risk adjustment payments will resume in October 2018. See ECF No. 81

(“HHS Notice”); Adoption of the Methodology for the HHS-Operated Permanent Risk

Adjustment Program Under the Patient Protection and Affordable Care Act for the 2017 Benefit

Year, 83 Fed. Reg. 36,456 (July 30, 2018).

               Given that the entire justification for the BCBS Association’s extremely belated

amicus request (which was contained in three short paragraphs) was the purported need to bring

the Risk Adjustment Suspension to the Court’s attention, the statement is now, in addition to its

myriad other defects, wholly irrelevant and moot. Accordingly, the Court should deny the

Motion.

II.    STANDARD OF REVIEW

               A nonparty may appear as amicus curiae only as a matter of privilege, not as a

matter of right. See e.g., Lopez v. Santa Fe Police Dept., No. 09-1214, 2010 BL 17160, *1

(D.N.M. Jan. 25, 2010) (“Participation as an amicus to brief and argue as a friend of the court is

a privilege . . ..”) Accordingly, the Court has broad discretion to deny a request to participate as

amicus curiae. See WildEarth Guardians v. Lane, No. 12-118, 2012 U.S. Dist. LEXIS 189661,

*4 (D.N.M. June 20, 2012) (“‘The privilege of being heard amicus rests in the discretion of the

court which may grant or refuse leave according[ly] as it deems the proffered information timely,

useful, or otherwise.’”) (citation omitted). As there is no pertinent rule of civil procedure at the


                                                 -2-
        Case 1:16-cv-00878-JB-JHR Document 82 Filed 08/01/18 Page 3 of 9



district court level addressing the participation of would-be amici, federal district courts look to

guidance from appellate courts and Federal Rule of Appellate Procedure 29, which governs

amicus briefs at the appellate level. See United States v. Bd. of Cnty. Comm'rs of Otero, 184 F.

Supp. 3d 1097, 1115 (D.N.M. 2015).

               In evaluating whether to permit amicus filings, courts within this District have

noted that the role of amicus curiae is to “supplement[] the efforts of counsel, and draw[] the

court’s attention to law that escaped consideration.” WildEarth Guardians, 2012 U.S. Dist.

LEXIS 189661, at *5. To that end, courts have considered the following factors when

determining whether to permit amicus participation:

               (1) whether the proposed amicus is a disinterested entity; (2)
               whether there is opposition to the entry of the amicus; (3) whether
               counsel is capable of making arguments without the assistance of
               an amicus; (4) the strength of the information and argument
               presented by the potential amicus curiae's interests; and (5)
               perhaps most importantly, the usefulness of information and
               argument presented by the potential amicus curiae to the court.

Bd. of Cnty. Comm'rs of Otero, 184 F. Supp. 3d at 1115 (quotations and citation omitted).

               With these factors in mind, courts in this District have explained that:

               An amicus brief should normally be allowed when a party is not
               represented competently or is not represented at all, when the
               amicus has an interest in some other case that may be affected by
               the decision in the present case ... or when the amicus has unique
               information or perspective that can help the court beyond the help
               that lawyers for the parties are able to provide. Otherwise, leave to
               file an amicus brief should be denied.

WildEarth Guardians, 2012 U.S. Dist. LEXIS 189661, at *6-7 (emphasis added) (quoting Ryan

v. Commodity Futures Trading Comm’n, 125 F.3d 1062, 1063 (7th Cir. 1997)).

               At the district court level, amicus requests are subject to greater scrutiny, and

“[w]here a party opposes the motion, the district court should ‘go slow in accepting an amicus

brief….’” Titan Am., LLC v. Darrell, No. 7:11-cv-52, 2011 U.S. Dist. LEXIS 100340, *15


                                                 -3-
         Case 1:16-cv-00878-JB-JHR Document 82 Filed 08/01/18 Page 4 of 9



(E.D.N.C. Sept. 2, 2011) (citing Strasser v. Doorley, 432 F.2d 567, 569 (1st Cir. 1970)). See

also Sequoia ForestKeeper v. Elliott, 50 F. Supp. 3d 1371, 1380 (E.D. Cal. 2014) (“the

consideration of an amicus brief . . . is seldom appropriate at the level of the trial level where the

parties are adequately represented by experienced counsel”).

III.     ARGUMENT

         A.       The Motion Is Untimely

                  While there is no rule directly governing requests to file amicus briefs at the

federal district court level, federal appellate rules dictate that amicus briefs must be filed “no

later than 7 days after the principal brief of the party being supported is filed.” Fed. R. App. P.

29(a)(6). HHS, whom the BCBS Association seeks to support, filed its cross motion for

summary judgment in June 2017. See ECF No. 34. Summary judgment briefing was completed

in August 2017, and the Court ruled on summary judgment in February 2018. HHS

subsequently filed its Rule 59 motion in March 2018. See ECF No. 57. Briefing on that motion

was completed over two months ago. 2

                  The BCBS Association filed this motion on July 19, 2018, that is, over a year

after HHS’s summary judgment brief was filed, nearly five months after the Court issued its

opinion, and over three months after HHS filed its Rule 59 motion. This eleventh hour and fifty-

ninth minute request to participate as amici curiae is untimely and should be denied on that basis

alone. See, e.g., Finkle v. Howard Cnty., 12 F. Supp. 3d 780, 783 (D. Md. 2014) (denying

amicus motion as untimely when filed 45 days after completion of dispositive motion briefing);

Carlin v. DairyAmerica, Inc., No. 1:09-cv-430, 2017 U.S. Dist. LEXIS 61915, *4 (E.D. Cal.


         2
            Nor can the BCBS Association justify its tardiness by arguing that it was unaware of this case. Not only
are all of the filings in this matter public, but the litigation also received national press coverage well before the
Court’s ruling. See, e.g., Louise Radnofsky & Anna Wilde Mathews, Two More Health Co-ops Sue Over Health
Law’s Risk-Adjustment Formula, WSJ (Aug. 1, 2016), at https://www.wsj.com/articles/two-more-health-co-ops-sue-
over-health-laws-risk-adjustment-formula-1470083380.


                                                         -4-
         Case 1:16-cv-00878-JB-JHR Document 82 Filed 08/01/18 Page 5 of 9



Apr. 21, 2017) (denying amicus motion as untimely when filed on the same day that the parties

concluded their dispositive briefing).

        B.       The Discretionary Amicus Factors Show that the BCBS Association’s Motion
                 Should Be Denied

                 1.       The Proposed Amicus Statement Fails to Provide Useful Information That
                          Will Assist the Court

                 In addition to being untimely, the proposed amicus statement is also unhelpful.

The “most important factor” in deciding whether to permit an amicus filing is “the usefulness of

information and argument presented by the potential amicus curiae to the court.” Bd. of Cty.

Comm’rs of Otero, 184 F. Supp. 3d at 1118 (emphasis added). As the entire premise of the

amicus statement was to apprise the Court of the now-ended Risk Adjustment Suspension, the

information proffered by the BCBS Association is simply of no use or benefit to the Court. 3

                 2.       HHS’s Counsel is Competent and Capable of Making Arguments Without
                          Amicus Assistance

                 Where “there is no indication that the parties to the law suit . . . will not

adequately present all relevant legal arguments, there is no persuasive reason to grant [a] motion

[for leave to file an amicus brief].” Am. Coll. of Obstetricians & Gynecologists, PA Section v.

Thornburgh, 699 F.2d 644, 645 (3d Cir. 1983). Thus, “[a]n amicus brief should normally be

allowed when a party is not ... represented competently or is not represented at all” or,

conversely, denied if the parties are competently represented. Oklahoma ex rel. Edmondson v.

Tyson Foods, Inc., No. 05-329, 2008 U.S. Dist. LEXIS 36665, *7 (N.D. Okla. May 5, 2008).
        3
           Even before the BCBS Association’s proposed amicus statement was rendered irrelevant by the Rule
reinstating risk adjustment payments for benefit year 2017, its content was still unhelpful to the Court. The
statement, which described the alleged “serious and time-sensitive ramifications” of “[HHS’s] unexpected decision
to freeze all risk adjustment transfers,” was of no relevance to the Court’s decision-making process. See ECF No.
80-1, at 2. The BCBS Association is concerned with HHS’s conduct, not with the Court’s ruling. The Court’s
ruling did not mandate the Risk Adjustment Suspension. Rather, HHS, through its own decision-making channels
and for whatever undisclosed reasons, chose to suspend the program instead of commencing a new notice and
comment rulemaking proceeding. It is rather telling that nowhere in the BCBS Association’s proffered amicus
statement does it offer any comment on the Court’s actual ruling, the arguments made by the parties, the
administrative record, or the law at issue.


                                                       -5-
        Case 1:16-cv-00878-JB-JHR Document 82 Filed 08/01/18 Page 6 of 9



The BCBS Association does not even attempt to argue that HHS’s counsel cannot adequately

present their arguments, nor could it, given that Defendants are represented by the many and

highly skilled attorneys of the United States Department of Justice. See JPMorgan Chase Bank,

N.A. v. Fletcher, No. 06-624, 2008 U.S. Dist. LEXIS 1069, *7 (N.D. Okla. Jan. 7, 2008)

(denying amicus motion and noting that “[c]urrent counsel are fully capable of presenting the

law and the facts to assist the Court in resolving the issues presented.”)

               3.      The BCBS Association Is Biased and Seeks to Continue Using Risk
                       Adjustment to Cripple and Destroy New and Small Competitors

               “While there is certainly no requirement that amici be totally disinterested, the

partiality of an amicus is a factor to consider in deciding whether to allow participation.” Picard

v. Greiff, 797 F. Supp. 2d 451, 452 (S.D.N.Y. 2011). Many of the various Blue Cross Blue

Shield plans in the United States have long enjoyed dominant positions in their local markets and

have sought to keep competition out. See, e.g., Steward Health Care Sys., LLC v. Blue Cross &

Blue Shield of R.I., No. 13-405, 2018 U.S. Dist. LEXIS 69737, *40 (D.R.I. Apr. 23, 2018)

(denying Blue Cross’s motion for summary judgment in antitrust action, finding that plaintiff

presented “plethora evidence that Blue Cross sacrificed short-term profits for the longer-term

benefit of eradicating potential competition”); In re Blue Cross Blue Shield Antitrust Litigation

MDL 2406, No. 13-20000 (N.D. Ala.) (pending antitrust claims against over 30 Blue Cross Blue

Shield Association companies); United States v. Blue Cross Blue Shield of Michigan, No. 10-

14155 (E.D. Mich.) (Department of Justice civil antitrust lawsuit against Blue Cross Blue Shield

of Michigan for using contracts with key hospitals to block the entry and expansion of rival

insurance carriers), pleadings available at https://www.justice.gov/atr/case/us-and-state-

michigan-v-blue-cross-blue-shield-michigan.

               While the new individual and small group exchange markets created by the

Affordable Care Act are supposed to foster competition, HHS’s risk adjustment program is doing
                                                 -6-
       Case 1:16-cv-00878-JB-JHR Document 82 Filed 08/01/18 Page 7 of 9



the opposite. Rather than supporting new entrants and providing consumers with more options,

the risk adjustment program as implemented has been preserving the dominance of Blue Cross

Blue Shield plans. For example:

              •      In Maryland, now-defunct nonprofit CO-OP Evergreen Health was
                     financially crippled in Summer 2016 when it was forced to pay $24
                     million in risk adjustment penalties to the state’s longstanding dominant
                     health insurance company, CareFirst BlueCross BlueShield.

              •      HealthyCT, a nonprofit Connecticut CO-OP, was shut down by state
                     insurance regulators after being assessed a $13 million risk adjustment
                     charge for benefit year 2015, which was paid to Connecticut’s local Blue
                     Cross Blue Shield plan. That Connecticut Blue Cross Blue Shield plan is
                     a subsidiary of Anthem, a publicly traded for-profit company that reported
                     operating revenue in excess of $89 billion in 2017. See Press Release,
                     Anthem Reports Fourth Quarter and Full Year 2017 Results Reflecting
                     Balanced Performance Across Its Business Units (Jan. 31, 2018), at
                     http://ir.antheminc.com/phoenix.zhtml?c=130104&p=irol-
                     newsArticle_financial_invest&ID=2329339.

              •      Land of Lincoln, the nonprofit CO-OP in Illinois, was forced to close after
                     being ordered by HHS to pay more than $30 million in risk adjustment
                     penalties to Blue Cross Blue Shield of Illinois, a subsidiary of Health Care
                     Service Corporation (“HCSC”), which also owns the Blue Cross Blue
                     Shield plan in New Mexico. HCSC’s total premium revenue in 2017
                     exceeded $30 billion. See Morgan Haefner, BCBS Parent Company Posts
                     $1.3B Profit in 2017: 4 Things To Know (Apr. 20, 2018), at
                     https://www.beckershospitalreview.com/payer-issues/bcbs-parent-
                     company-posts-1-3b-profit-in-2017-4-things-to-know.html.

              •      Preferred Medical, a small Florida insurance company, was rendered
                     insolvent when it was forced to pay $97 million in risk adjustment
                     penalties to market dominant Blue Cross Blue Shield of Florida.

              •      When risk adjustment charges and payments for the 2017 benefit year
                     move forward under the newly promulgated Rule, the Montana Health
                     Cooperative – one of only four nonprofit CO-OPs left in business,
                     including NMHC – would be forced to pay more than $26 million to
                     HCSC’s Blue Cross Blue Shield plan in Montana.

              The BCBS Association’s proffered “statement” is just another attempt to preserve

its members’ market dominance and to protect the risk adjustment program that has been so




                                              -7-
          Case 1:16-cv-00878-JB-JHR Document 82 Filed 08/01/18 Page 8 of 9



effective in thwarting their competitors’ efforts to establish a foothold in the market and provide

options to consumers.

IV.       CONCLUSION

               For the reasons set forth herein, the BCBS Association’s Motion should be

denied.

Dated: August 1, 2018                              Respectfully submitted:

                                                   /s/ Nancy R. Long
                                                   Nancy R. Long
                                                   LONG, KOMER & ASSOCIATES, PA
                                                   2200 Brothers Road/PO Box 5098
                                                   Santa Fe, NM 87502
                                                   (505) 982-8405
                                                   nancy@longkomer.com
                                                   email@longkomer.com
                                                   vmarco@longkomer.com

                                                   Barak A. Bassman
                                                   Sara B. Richman
                                                   Leah Greenberg Katz
                                                   PEPPER HAMILTON LLP
                                                   3000 Two Logan Square
                                                   Eighteenth and Arch Streets
                                                   Philadelphia, PA 19103-2799
                                                   215-981-4000
                                                   bassmanb@pepperlaw.com
                                                   richmans@pepperlaw.com
                                                   katzl@pepperlaw.com

                                                   Marc D. Machlin
                                                   PEPPER HAMILTON LLP
                                                   Hamilton Square
                                                   600 Fourteenth Street, N.W.
                                                   Washington, D.C. 20005-2004
                                                   202-220-1200
                                                   machlinm@pepperlaw.com

                                                   Attorneys for Plaintiff




                                                -8-
       Case 1:16-cv-00878-JB-JHR Document 82 Filed 08/01/18 Page 9 of 9



                              CERTIFICATE OF SERVICE

       I hereby certify that on August 1, 2018, I electronically filed the foregoing using the

Court’s CM/ECF system, causing a notice of filing to be served upon all counsel of record,

including counsel for BCBS Association.



                                           /s/ Nancy R. Long
                                           Nancy R. Long
